                           Case 4:20-cv-05640-YGR Document 904 Filed 03/20/24 Page 1 of 7



             1   Renata B. Hesse (SBN 148425)                       Joel Kurtzberg (pro hac vice forthcoming)
                 (hesser@sullcrom.com)                              (jkurtzberg@cahill.com)
             2   Brendan P. Cullen (SBN 194057)                     John S. MacGregor (SBN 304330)
                 (cullenb@sullcrom.com)                             (jmacgregor@cahill.com)
             3   SULLIVAN & CROMWELL LLP                            CAHILL GORDON & REINDEL LLP
                 550 Hamilton Avenue                                32 Old Slip
             4   Palo Alto, California 94301                        New York, New York 10005
                 Telephone: (650) 461-5600                          Telephone: (212) 701-3000
             5   Facsimile: (650) 461-5700                          Facsimile: (212) 269-5420

             6   Shane M. Palmer (SBN 308033)                       William R. Warne (SBN 141280)
                 (palmersh@sullcrom.com)                            (bwarne@DowneyBrand.com)
             7   SULLIVAN & CROMWELL LLP                            DOWNEY BRAND LLP
                 125 Broad Street                                   621 Capitol Mall, 18th Floor
             8   New York, New York 10004                           Sacramento, California 95814
                 Telephone: (212) 558-4000                          Telephone: (916) 444-1000
             9   Facsimile: (212) 558-3588                          Facsimile: (916) 520-5617

        10       Attorneys for Amicus Curiae Meta                   Attorneys for Amicus Curiae X Corp.
                 Platforms, Inc.                                    Douglas J. Dixon, State Bar No. 275389
        11                                                          ddixon@hueston.com
                 Reid M. Figel (SBN 135684)                         HUESTON HENNIGAN LLP
        12       (rfigel@kellogghansen.com)                         620 Newport Center Drive, Suite 1300
                 KELLOGG, HANSEN, TODD, FIGEL &                     Newport Beach, CA 92660
        13       FREDERICK, P.L.L.C.                                Telephone:    (949) 229-8640
                 1615 M Street, N.W., Suite 400
        14       Washington, D.C. 20036                             Tate E. Harshbarger, State Bar No. 328622
                 Telephone: (202) 326-7918                          tharshbarger@hueston.com
        15       Facsimile: (202) 326-7999                          HUESTON HENNIGAN LLP
                 Attorney for Amicus Curiae Microsoft               523 West 6th Street, Suite 400
        16                                                          Los Angeles, CA 90014
                 Corporation
                                                                    Telephone:    (213) 788-4340
        17
                                                                    Attorneys for Amicus Curiae Match Group,
        18                                                          LLC
        19                                  UNITED STATES DISTRICT COURT
        20                               NORTHERN DISTRICT OF CALIFORNIA
        21 EPIC GAMES, INC.,                                    )      Case No. 4:20-cv-05640-YGR-TSH
                                                                )
        22                               Plaintiff,             )      MOTION OF META PLATFORMS,
                                                                )      INC., MICROSOFT CORPORATION,
        23            v.                                        )      X CORP., AND MATCH GROUP,
                                                                )      LLC FOR LEAVE TO FILE BRIEF
        24 APPLE INC.                                           )      AS AMICI CURIAE IN SUPPORT OF
                                                                )      EPIC GAMES, INC.’S MOTION TO
        25                               Defendant.             )      ENFORCE INJUNCTION
                                                                )
        26                                                      )      Judge:           Hon. Yvonne
                                                                )                       Gonzalez-Rogers
        27                                                      )      Hearing Date:    April 30, 2024
                                                                )      Hearing Time:    2:00 p.m.
        28                                                      )      Courtroom:       1, 4th Floor
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     &
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                               MOTION OF META, MICROSOFT, X, AND MATCH GROUP FOR LEAVE TO FILE BRIEF AS AMICI CURIAE
                                                                                  CASE NO. 4:20-CV-05640-YGR-TSH
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             1   TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

             2                  PLEASE TAKE NOTICE THAT Meta Platforms, Inc. (“Meta”), Microsoft

             3   Corporation (“Microsoft”), X Corp. (“X”), and Match Group, LLC (“Match Group”), through their

             4   undersigned counsel, will move this Court, in Courtroom 1 of the Oakland Courthouse, 1301 Clay

             5   Street, Oakland, California 94612, on April 30, 2024, at 2:00 p.m. for leave to file a brief as Amici

             6   Curiae in this litigation.1 This Motion is supported by the accompanying proposed order granting

             7   the Motion.

             8                  Through this Motion, Amici respectfully request that the Court grant them

             9   permission to file a brief as Amici Curiae in support of Plaintiff Epic Games, Inc.’s Motion to

        10 Enforce Injunction. A copy of Amici’s proposed brief is attached hereto as Exhibit A. The

        11 undersigned counsel have consulted counsel for the parties in this matter. Plaintiff has consented

        12 to the filing of Amici’s brief and Defendant does not consent to the filing of that brief.

        13                                       INTEREST OF AMICI CURIAE

        14                      Meta is a technology company, founded in 2004, whose mission is to give people

        15 the power to build communities and to bring the world closer together. Meta develops and operates

        16 some of the world’s most popular apps, including Facebook, Instagram, WhatsApp, and

        17 Messenger, which are used daily by people worldwide to connect, find communities, and grow

        18 businesses. Meta’s products and services enable people to connect and share with friends, family,

        19 co-workers, and customers through mobile devices, personal computers, virtual reality headsets,

        20 and wearables.

        21                      Microsoft is a technology industry leader, founded in 1975, that offers a wide range

        22       of services, software, and hardware products. Microsoft’s mission is to enable individuals and

        23       businesses throughout the world to realize their full potential by creating technology that

        24       transforms the ways people work, play, and communicate. Microsoft develops, manufactures,

        25       licenses, sells, and supports a wide range of programs, devices, and services, including Windows,

        26       Microsoft Office, Surface, Xbox and Xbox Game Pass, and Bing. Microsoft offers many of its

        27       1
                         Amici noticed their Motion for the same date and time selected by Epic for the hearing on
                 its Motion to Enforce Injunction.
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                                MOTION OF META, MICROSOFT, X, AND MATCH GROUP FOR LEAVE TO FILE BRIEF AS AMICI CURIAE
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             1   products as mobile apps, including on iOS, such as Microsoft Office, Teams, the Xbox app, and

             2   games including Candy Crush and Minecraft.

             3                   X (formerly “Twitter”) is an international technology company that operates an

             4   online discussion platform used by more than 500 million active users around the world. X is a

             5   real-time, open, public conversation platform that allows people to create, distribute, and discover

             6   content. X allows users to create and share ideas and information instantly through various

             7   product features, including public posts and videos.

             8                   Match Group owns and operates online dating brands, including Tinder, which is

             9   Match Group’s most popular dating brand. Tinder is available to users at no charge, including on

        10       iOS mobile device applications and on the web. Tinder users have the option of purchasing various

        11       subscription tiers as well as certain features on an á la carte basis.

        12                       Amici are each directly impacted by Apple’s App Store Review Guidelines

        13       (“Guidelines”) and have a substantial interest in ensuring that the Court’s September 10, 2021

        14       injunction against Apple is enforced. As developers of some of the most popular apps on the App

        15       Store, Amici have been subject to Apple’s anti-steering restrictions for years. Amici therefore have

        16       a unique perspective that can aid the court in its resolution of Plaintiff’s Motion to Enforce

        17       Injunction.

        18                                                   ARGUMENT

        19                       The Court possesses broad discretion over the question of whether to grant

        20       permission to file an amicus brief, and “generally courts have exercised great liberality” in

        21       permitting such briefs. Woodfin Suite Hotels, LLC v. City of Emeryville, 2007 WL 81911, at *3

        22       (N.D. Cal. Jan. 9, 2007) (internal quotation omitted). “There are no strict prerequisites that must

        23       be established prior to qualifying for amicus status; an individual seeking to appear as amicus must

        24       merely make a showing that his participation is useful or otherwise desirable to the court.”

        25       California v. U.S. Dep’t of the Interior, 381 F. Supp. 3d 1153, 1164 (N.D. Cal. 2019). “District

        26       courts frequently welcome amicus briefs from non-parties concerning legal issues that have

        27       potential ramifications beyond the parties directly involved or if the amicus has unique information

        28       or perspective that can help the court beyond the help that the lawyers for the parties are able to
  SULLIVAN
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             1   provide.” Sonoma Falls Developers, LLC v. Nev. Gold & Casinos, Inc., 272 F. Supp. 2d 919, 925

             2   (N.D. Cal. 2003) (internal quotation omitted). Amici’s proposed brief fulfills that purpose.

             3                  The resolution of Plaintiff’s Motion to Enforce will directly affect Amici. As

             4   explained in their proposed brief, Apple has failed to comply with this Court’s injunction that

             5   prohibited Apple from blocking developers such as Amici from steering users to alternative

             6   payment methods outside of Apple’s in-app purchasing mechanism. Apple’s proposed scheme for

             7   permitting external purchase links within an app imposes burdensome and unjustified restrictions

             8   on the flow of information to users that will ultimately inhibit price competition. These new anti-

             9   steering restrictions will have broad real-world impacts on all app developers and their users —

        10       not just gaming apps.

        11                      Amici have been subject to Apple’s anti-steering restrictions for years — often in

        12 direct competition with Apple’s own apps and services — and have extensive experience with

        13 developing apps under Apple’s Guidelines.                  Amici can provide the Court with a broader

        14 understanding of how Apple has used, and continues to use, the Guidelines to restrict price

        15 competition and why the link entitlement process it has now proposed is a clear violation of the

        16 Court’s injunction. Amici are also well positioned to explain how Apple’s new restrictions will,

        17       in practice, constrain price competition in different contexts and across a wide variety of apps.

        18       Amici’s perspective on the negative impact of Apple’s new anti-steering restrictions will be useful

        19       to the Court in determining whether Apple’s has adequately complied with this Court’s injunction,

        20       and Amici believe it will help in resolving Plaintiff’s Motion to Enforce.

        21                                                 CONCLUSION

        22                      For the foregoing reasons, Amici Curiae respectfully request that the Court enter an

        23       order granting leave to file their proposed brief.

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                                MOTION OF META, MICROSOFT, X, AND MATCH GROUP FOR LEAVE TO FILE BRIEF AS AMICI CURIAE
                                                                                   CASE NO. 4:20-CV-05640-YGR-TSH
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             1   Dated: March 20, 2024
                                                            /s/ Brendan P. Cullen
             2                                              Renata B. Hesse
                                                            Brendan P. Cullen
             3                                              SULLIVAN & CROMWELL LLP
                                                            550 Hamilton Avenue
             4                                              Palo Alto, California 94301
                                                            Telephone: (650) 461-5600
             5                                              Facsimile: (650) 461-5700
                                                            Email: hesser@sullcrom.com
             6                                                       cullenb@sullcrom.com
             7                                              Shane M. Palmer
                                                            SULLIVAN & CROMWELL LLP
             8                                              125 Broad Street
                                                            New York, New York 10004
             9                                              Telephone: (212) 558-4000
                                                            Facsimile: (212) 558-3588
        10                                                  Email: palmersh@sullcrom.com
        11                                                  Attorneys for Amicus Curiae Meta Platforms,
                                                            Inc.
        12

        13                                                  /s/ Reid M. Figel
                                                            Reid M. Figel
        14                                                  KELLOGG, HANSEN, TODD, FIGEL &
                                                            FREDERICK, P.L.L.C.
        15                                                  1615 M Street, N.W., Suite 400
                                                            Washington, D.C. 20036
        16                                                  Telephone: (202) 326-7918
                                                            Facsimile: (202) 326-7999
        17                                                  Email: rfigel@kellogghansen.com
        18                                                  Attorney for Amicus Curiae Microsoft
                                                            Corporation
        19

        20                                                  Joel Kurtzberg
                                                            John S. MacGregor
        21                                                  CAHILL GORDON & REINDEL LLP
                                                            32 Old Slip
        22                                                  New York, New York 10005
                                                            Telephone: (212) 701-3000
        23                                                  Facsimile: (212) 269-5420
                                                            Email: jkurtzberg@cahill.com
        24                                                         jmacgregor@cahill.com
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  SULLIVAN
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                              MOTION OF META, MICROSOFT, X, AND MATCH GROUP FOR LEAVE TO FILE BRIEF AS AMICI CURIAE
                                                                                 CASE NO. 4:20-CV-05640-YGR-TSH
                 Case 4:20-cv-05640-YGR Document 904 Filed 03/20/24 Page 6 of 7


                                                   /s/ William R. Warne
             1                                     William R. Warne
                                                   DOWNEY BRAND LLP
             2                                     621 Capitol Mall, 18th Floor
                                                   Sacramento, California 95814
             3                                     Telephone: (916) 444-1000
                                                   Facsimile: (916) 520-5617
             4                                     Email: bwarne@DowneyBrand.com
             5                                     Attorneys for Amicus Curiae X Corp.
             6
                                                   /s/ Douglas J. Dixon
             7                                     Douglas J. Dixon
                                                   HUESTON HENNIGAN LLP
             8                                     620 Newport Center Drive, Suite 1300
                                                   Newport Beach, CA 92660
             9                                     Telephone:     (949) 229-8640
                                                   Email: ddixon@hueston.com
        10
                                                   Tate E. Harshbarger
        11                                         HUESTON HENNIGAN LLP
                                                   523 West 6th Street, Suite 400
        12                                         Los Angeles, CA 90014
                                                   Telephone:    (213) 788-4340
        13                                         Email: tharshbarger@hueston.com
        14                                         Attorneys for Amicus Curiae Match Group, LLC
        15

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                     MOTION OF META, MICROSOFT, X, AND MATCH GROUP FOR LEAVE TO FILE BRIEF AS AMICI CURIAE
                                                                        CASE NO. 4:20-CV-05640-YGR-TSH
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             1                                             ATTESTATION

             2                   I, Brendan P. Cullen, am the ECF User whose ID and password are being used to

             3   file this document with the Clerk of the Court using CM/ECF, which will send electronic

             4   notification of such filing to all registered counsel. In compliance with Local Rule 5-1(i)(3), I

             5   hereby attest that all signatories concur with this filing.

             6   Dated: March 20, 2024                                   /s/ Brendan P. Cullen
                                                                         Brendan P. Cullen
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                                MOTION OF META, MICROSOFT, X, AND MATCH GROUP FOR LEAVE TO FILE BRIEF AS AMICI CURIAE
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